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IN THE UNITED STATES DISTRICT COURT

 

FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA SSS
a
RYAN HYSELL and CRYSTAL HYSELL, : 7
on behalf of their daughter, AUBRIE HYSELL, HIN = 3 202] -
Plaintiffs, . RORY L. PERRY 1, CLER!
Souther District Nest Virgin!

  

 

 

 

Vv. Case No. 5:18-ev-01375

RALEIGH GENERAL HOSPITAL, and
THE UNITED STATES OF AMERICA,

Defendants.

SPECIAL INTERROGATORY FORM

We, the members of the jury, unanimously, by a preponderance of the evidence,
and in accordance with the instructions from the Court, find as follows:

1. As to deviations from the standard of care, if any, by Raleigh General
Hospital (““RGH”) and/or the United States of America (“USA”) in the
treatment of Aubrie Hysell by their respective employees on October 29,

2010:
RGH deviated: Yes V No
USA deviated: Yes J No

If you answered "No" in both spaces above, please sign this form and advise
the Court Security Officer that you have reached a verdict.
If you answered “Yes” in either space, please proceed to question 2.

2. As to whether the above deviation(s) from the standard of care was/were a
proximate cause of injuries to Aubrie Hysell:

RGH’s deviation was a proximate cause: Yes f No
The USA’s deviation was a proximate cause: Yes J No
If you answered "No" in both spaces immediately above, please sign this

form and advise the Court Security Officer that you have reached a verdict.
If you answered “Yes” in either space, please proceed to question 3.
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3. We find the percentage of fault (totaling 100%) for each Defendant for whom
a “Yes” answer was checked as to both questions 1 and 2 above as follows:

RGH JO %
USA | BO %
TOTAL 100%
4. The total amount of damage suffered by Aubrie Hysell is as follows:

For noneconomic losses, if any: $ | ,000, 000 DO
For future lost earnings, if any: $ %3 ] a2! 7.Q

For future medical treatment, attendant care,

and other therapies, if any: $ 9,000, 000 -00
TOTAL  $)0£27,627.@

Dated: June DA, B04!

 

Foreperson
